
38 N.Y.2d 883 (1976)
In the Matter of Milton J. Crystal et al., Respondents,
v.
City of Syracuse, Department of Assessment, Appellant.
Court of Appeals of the State of New York.
Argued January 13, 1976.
Decided February 12, 1976.
Edward P. Kearse, Corporation Counsel (Eleanor Theodore of counsel), for appellant.
Kenneth D. Whitelaw for respondents.
Louis J. Lefkowitz, Attorney-General (Joseph P. McCale, Ruth Kessler Toch and Douglas S. Dales, Jr., of counsel), for New York State Board of Equalization and Assessment, amicus curiae.
Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE concur.
*885MEMORANDUM.
We affirm on the opinion of Mr. Justice SIMONS. In so doing, it is noted that the court does not have before it a situation in which the owner of the real estate has incorporated as part of the real estate a telephone or telegraph system.
Order affirmed, with costs, in a memorandum.
